Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 1 of 20 PageID #: 194




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Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 2 of 20 PageID #: 195




           1                                                                                    1

           2           UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK
           3           ----------- ------- - -------x
           4           YOEL WEISSHAUS,
           5                            Plaintiff,
                                                         Case No.
           6                   -against-                 11-cv- 6616-RKE

           7           THE PORT AUTHORITY OF NEW YORK
                       AND NEW JERSEY,
           8
                                        Defendant.
           9
                       ---------------- - ---------x
         10                                              July 7, 2022
                                                         9:45 a.m.
         11
         12
         13
         14                   Videoconference deposition of SERGEANT

         15            THOMAS JOHNSON, taken by Plaintiff, pursuant

         16            to Notice, reported remotely by Patrick M.

         17            DeGiorgio, a Shorthand Reporter and Notary

         18            Public of the State of New York .

         19
         20
         21
         22
         23

         24

         25



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                                                                            PA LAW DEPARTMENT

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Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 3 of 20 PageID #: 196




          1                                                                  2

          2            REMOTE APPEARANCES:
          3

          4            LEVI HUEBNER & ASSOCIATES, P.C.
          5                  Attorneys for Plaintiff
          6                  488 Empire Boulevard
          7                  Suite 100
          8                  Brooklyn, New York 11225
          9            BY:   LEVI HUEBNER, ESQ.
         10                  newyorklawyer@msn.com
         11
         12            THE PORT AUTHORITY OF NY/NJ LAW DEPARTMENT
         13                  Attorneys for Defendant, The Port
         14                  Authority of New York and New Jersey
         15                  4 World Trade Center
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         17                  24th Floor
         18                  New York, New York 10007
         19            BY:   KATHLEEN GILL MILLER, ESQ.
         20                  kmiller@panynj.gov.corn
         21
         22           · PRESENT:
         23            YOEL WEISSHAUS
         24
         25


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           1                                                                  3
           2                              STIPULATIONS
           3

          4                      IT IS HEREBY STIPULATED AND AGREED by
          5            and between counsel for the respective
           6           parties hereto, that all objections, except
           7           as   to form, are reserved to the time of
           8           trial .
           9                     IT IS FURTHER STIPULATED AND AGREED
         10            that the deposition may be signed and sworn
         11            to before any officer authorized to
         12            administer an oath.
         13                      IT IS FURTHER STIPULATED AND AGREED
         14            that the sealing and filing of the
         15            deposition be waived.
         16
         17
         18

         19
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         24

         25


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           1                                Johnson                           8

          2                 hard copy and a mini.

           3                        (Off the record)

           4           SERGEANT THOMAS JOHNSON,

          5                  the witness herein,       testifying on

           6                 behalf of the Defendant, having been

          7                  first duly sworn by Patrick M.

          8                  DeGiorgio, a Notary Public within and

          9                  for the State of New York, was examined

         10                  and testified as follows:

         11            EXAMINATION

         12            BY MR. HUEBNER:

         13                 Q.      What is your full name for the

         14            record?

         15                 A.      Thomas Johnson.

         16                 Q.      What is your work address?

         17                 A.      Port Authority, 2777 Goethals

         18            Road North, Staten Island, New York 10303.

         19                 Q.      Good morning.

         20                 A.      Good morning.

         21                 Q.      My name is Levi Huebner.          I'm

         22            counsel for the plaintiff in this case, Mr.

         23            Yoel Weisshaus.       I'm going to be asking you

         24            some questions.       Please be reminded that

         25            the answers must be verbal, not physical



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           1                                  Johnson                         9

           2           with a nod of the head or the hand because
           3           the court reporter cannot take down a nod
           4           or nonverbal response.           Do you understand?
           5                A.      Yeah,     I know.    I've been to court
           6           before.
          7                 Q.      Have you ever been deposed
          8            before?
          9                 A.      Yes.
         10                 Q.      Thank you for letting me know

         11            that.     So how long have you been with the

         12            Port Authority?
         13                 A.      29 years.

         14                 Q.      And your status now is a

         15            sergeant?

         16                 A.      Yes.

         17                 Q.      And I understand you are leaving

         18            the Port Authority soon; correct?

         19                 A.      Correct.

         20                 Q.      And why is that?

         21                 A.      Because I'm going to retire.

         22                 Q.      Okay.      Is there any particular

         23            reason that you are going to retire?

         24                 A.      No.

         25                 Q.      And now I'd like to know so



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Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 7 of 20 PageID #: 200




           1                                 Johnson                        31

           2           down and look at something.
           3                A.      Yeah, I looked at the summons.

           4                Q.      Before you look at something,

           5           answer the question and if you don't recall

           6           then say I don't recall and you have to

          7            look at something so you get permission.

           8                A.      Okay.
           9                Q.      Do you remember the location

         10            where you pulled over Mr. Weisshaus?

         11                 A.      On 440 southbound in Bayonne.

         12                 Q.      On 440 southbound in Bayonne, how

         13                what's the range -- what's the distance

         14            of 440 southbound, when does it begin and

         15            when does it end?

         16                 A.      440 runs the entire length of

         17            Bayonne.

         18                 Q.      And so where -- which direction

         19            was Mr. Weisshaus traveling on that day?

         20                 A.      Southbound.

         21                 Q.      So he was coming from a northerly

         22            direction?

         23                 A.      Yes.

         24                 Q.      And so at the northern-most point

         25            the 440, where does 440 start?



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           1                                Johnson                           32

           2                A.      In Jersey City.
           3                Q.      And where does the 440 end?
           4                A.      At the Bayonne Bridge and then it

           5           goes over into New York.
           6                Q.      When you say "at the Bayonne
           7           Bridge," the 440 ends at the Bayonne Bridge

           8           or the Port Authority's jurisdiction ends
           9           at the Bayonne Bridge?
         10                 A.      Port Authority has jurisdiction

         11            in two states on every roadway.

         12                 Q.      So where does -- does the Port

         13            Authority have the jurisdiction at the

         14            beginning of 440?

         15                 A.      We have jurisdiction in New York

         16            and New Jersey on all of the roadways.                We

         17            are police officers in the two states.

         18                 Q.      You are a police officer in two

         19            states?

         20                 A.      Yes.

         21                 Q.      What two states are those?

         22                 A.      New York and New Jersey.

         23                 Q.      And so from the beginning of the

         24            440 it begins at what, you say where,            in

         25            Jersey City?



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Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 9 of 20 PageID #: 202




           1                                   Johnson                       33

           2                A.      Uh-huh.
           3                Q.      And it ends in New York?

           4                A.      It goes over into New York, yes,

           5           because part of the West Shore Highway is
           6           considered 440 as well.
           7                Q.      From the beginning of Jersey City

           8           until the end of the 440, do you know what

           9           location on the 440 you pulled over Mr.

         10            Weisshaus?
         11                 A.      Yes.       Just before the Bayonne

         12            Bridge.
         13                 Q.      And when you say "just before the

         14            Bayonne Bridge," do you know how many feet

         15            before the Bayonne Bridge that was?

         16                 A.      No .

         17                 Q.      Do you know how many miles before

         18            the Bayonne Bridge that was?

         19                 A.      No.

         20                 Q.      It could have been a mile?

         21                 A.      No.      It was much less than a

         22            mile.

         23                 Q.      When you say "much less than a

         24            mile," how much less than a mile was it?

         25                 A.      It could be anywhere from,         I



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Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 10 of 20 PageID #: 203




           1                                   Johnson                       34

           2           don't know, a hundred yards to 500 yards

           3           depending on where he stopped.            I made a
           4            lot of traffic stops in that area during

           5            that time.
           6                 Q.      You made a lot of traffic stops

           7            in that area?

           8                 A.      Yes.

           9                 Q.      On that same day?

          10                 A.      On that day and many days before

          11           and after.

          12                 Q.      Let's talk about that day,

          13            January 16th, 2019.

          14                 A.      Uh-huh.

          15                 Q.      Do you remember what day of the

          16           week that was?

          17                 A.      No.

          18                 Q.      And when you say you made many

          19           other stops, what day --

          20                         MR. HUEBNER:        Strike that.

          21                 Q.      When you say you made many other

          22           stops, what was the purpose of the stops?

          23                 A.      Motor vehicle violations.

          24                 Q.      Do you know how many motor

          25           vehicle violation stops you made on January



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Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 11 of 20 PageID #: 204




           1                                  Johnson                        41

           2                 A.     From there to the bridge it was.

           3                 Q.     And was there a sign posted that

           4           makes it a construction zone?

           5                 A.     There's multiple signs.

           6                 Q.     And where were those signs

           7           located?

           8                 A.     All along the 440 as well as a

           9           sign board.

          10                 Q.     Where was the sign board located?

          11                 A.     At the beginning of the

          12           construction zone right near 5th Avenue.

          13                 Q.     Did you pull over --

          14                        MR. HUEBNER:        Strike that.

          15                 Q.     When you pulled o~er Mr.

          16           Weisshaus' vehicle, where was it that you

          17           pulled over his vehicle?

          18                 A.     Just before the Bayonne Bridge.

          19                 Q.     .Before you pulled him over, how

          20          'far away was his vehicle from your vehicle?

          21                 A.      I don't recall.

          22                 Q.     More than 10 feet?

          23                 A.      I'm sure it was more than 10

          24           feet.

          25                 Q.      Okay.



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Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 12 of 20 PageID #: 205




           1                                 Johnson                         42

           2                A.        10 feet he's literally one car

           3           behind me.

           4                 Q.       20 feet?

           5                A.        I couldn't give you an exact
           6           answer.

           7                 Q.       30 feet?

           8                A.        Like I just said, I can't give

           9           you an exact answer.        I don't recall how
          10           far back he was when he was hit by -the
                                  1
          11           radar.

          12                 Q.       I didn't ask you when he was hit

          13           by the radar.       I asked you after he was hit

          14           by the radar when did you see his vehicle?

          15                A.        As soon as the radar hit I'm

          16           looking at the traffic and that's the car

          17           I'm looking at.       The radar is only going to

          18           pick up the car that the radar is hitting.

          19           That's the only car in the lane.

          20                 Q.       What was the time when the radar

          21           hit until when you pulled over Mr.

          22           Weisshaus?

          23                A.        Probably 10 to 15 seconds.

          24                 Q.       How did you pull him ·over?

          25                 A.       I pulled out, activated my



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Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 13 of 20 PageID #: 206




           1                                 Johnson                         43

           2           lights,    I got behind him and I pulled him
           3           over into the closed lane.
           4                 Q.      He passed you and then you pulled

           5           behind him?
           6                 A.      Yes.
           7                 Q.     And before his vehicle stopped,

           8           how far was that from the location where

           9           you pulled him over?

          10                 A.      Probably about 50 to a hundred

          11           yards.
          12                 Q.      50 to a hundred yards?
          13                 A.      Yes.

          14                 Q.      Did you pull him over before the

          15           Bayonne Bridge or did you pull him over on

          16           the Bayonne Bridge?

          17                 A.      Like I said a couple times

          18           already,    right before the Bayonne Bridge in

          19           the closed lane.

          20                 Q.      You pulled him over,       is that what

          21           you are testifying?

          22                 A.      I don't understand the question.

          23                 Q.      You said you pulled him over

          24           right before the Bayonne Bridge?

          25                 A.      Yes.   I said that three times.



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Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 14 of 20 PageID #: 207




           1                                  Johnson                        44
           2                 Q.     And that's where he stopped his

           3           vehicle?
           4                 A.     Yes.

           5                 Q.     And you were right behind him?

           6                 A.     Yes.

           7                 Q.     And before the Bayonne Bridge,          is

           8           there a cross street?

           9                 A.     No.

          10                 Q.     That was one lane at that time?

          11                 A.     Yes.

          12                 Q.     When you pulled him over was your

          13           vehicle and his vehicle blocking the one

          14           lane?

          15                 A.     No.     I pulled him into the closed

          16           lane like I said.

          17                 Q.     Okay.

          18                 A.      For his safety and my safety we

          19           don't block up a lane.

          20                 Q.     Where was the closed lane

          21           located, on the right or on the left?

          22                 A.     On the right like I said before.

          23                 Q.      It was on the right.        Were there

          24           cones on the right?

          25                 A.     There were cones blocking off the



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Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 15 of 20 PageID #: 208




           1                                 Johnson                           45
           2           right lane.
           3                  Q.     How
           4                  A.     In that shoulder.
           5                  Q.     How did his vehicle get --
           6                  A.     Because they were open enough so
           7           I could get my vehicle
           8                  Q.     Please let me finish my question.

           9                  A.     Of course.
          10                  Q.     When you pulled over his vehicle

          11           and there were cones blocking the right

          12           lane, how could his vehicle get into the

          13           right lane?
          14                  A.     Like I was just saying, he pulled

          15           in between the cones.         The cones are

          16           staggered.      It's not one gigantic wall of

          17           cones.      He was able to get his car in

          18           between the cones just like I was able to

          19           pull out from the cones.

          20                  Q.     When you pulled over Mr.

          21           Weisshaus, did you have a conversation with

          22           him?

          23                  A.     The only thing I do for every

          24           motor vehicle stop I announce who I am,             I

          25           asked for his license, registration and



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Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 16 of 20 PageID #: 209




           1                                 Johnson                         46
           2           insurance.
           3                 Q.      And did you ask him any
           4           questions?
           5                 A.      I don't recall.
           6                 Q.      And did Mr. Weisshaus say
           7           anything to you?
           8                 A.      He said several things.         I don't
           9           remember anything he said, but all I know
          10           is the one note that I had on the back of
          11           my summons when I reviewed it.
          12                 Q.      I didn't ask you anything about a

          13           note.      Did he say anything?
          14                 A.      The only thing written on my
          15           notes was that he was rude.
          16                 Q.      So you don't remember him saying
          17           anything?
          18                 A.      I don't remember anything about
          19           the stop.
          20                 Q.      You don't remember anything about
          21           the stop?
          22                 A.      Just like said, I'm going on what
          23           I do for many, many motor vehicle stops out
          24           there.
          25                 Q.      Do you remember what Mr.


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Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 17 of 20 PageID #: 210




           1                                  Johnson                         47
           2           Weisshaus looked like at the time that you
           3           pulled him over?
           4                 A.     Nope.
           5                 Q.     Do you remember what he was
           6           wearing?
           7                 A.     No.
           8                 Q.     Do you remember his race or
           9           ethnicity?
          10                 A.     Nope.
          11                 Q.     Do you remember if he was a male
          12           or female?
          13                 A.     He was a male.
          14                 Q.     In appearance?
          15                 A.     He was a male.
          16                 Q.     How do you know that he was a
          17           male?
          18                 A.     Well, he looked like a male, it
                                                          '
          19           says male on his driver's license.
          20                 Q.     What was it about him that he
          21           looked like a male?
          22                 A.     Sir, he looked like a male.           I
          23           just told you I don't remember what he
          24           looked like.        He was a male.
          25                 Q.     So you really don't remember if


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Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 18 of 20 PageID #: 211




           1                                     Johnson                     48

           2           he looked like a male or not, you are just

           3           going by what the driver's license said?

           4                 A.      I'm going by what my summons

           5           said.      If he looks like a male and it says
           6           male on his driver's license I put male.

           7                 Q.      But you don't remember what he

           8           looked like?

           9                 A.      No.     I   just told you that.     I

          10           don't remember what he looked like.

          11                 Q.      You don't remember how many

          12           tickets you wrote that day, do you?

          13                 A.      No.

          14                 Q.      Do you know if you wrote more

          15           than one ticket?

          16                 A.      I don't know.

          17                 Q.      So you might -- Mr. Weisshaus

          18           might have been the only ticket you wrote

          19           that day?

          20                 A.      It's possible.

          21                 Q.      Do you have a record of tickets

          22           that you wrote that day?

          23                 A.      I'm sure there's one somewhere in

          24           the building.         I could look at my own

          25           summonses now to see if, I wrote any more in



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Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 19 of 20 PageID #: 212




           1                                  Johnson                        49

           2           Bayonne.     I write them for many

           3           municipalities and New York as well.

           4                 Q.      Does your car have a video on it?

           5                 A.     No .
           6                 Q.     At that point in time on January

           7           16th, 2019, did your vehicle have a video

           8           on it?

           9                 A.     No.

          10                 Q.     Did you have a body cam?

          11                 A.     No.

          12                 Q.     Do you have a body cam?

          13                 A.     No.

          14                 Q.     How about any voice recording

          15           equipment?

          16                 A.     No.

          17                 Q.     Besides yourself, was anybody

          18           else with you that day?

          19                 A.     No.

          20                 Q.      In order for a motorist to be

          21           advised of a construction zone,           is there a

          22           particular manner in which the law requires

          23           that the pedestrians are advised of a

          24           construction zone?

          25                 A.     By signage.


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Case 1:21-cv-02062-ENV-SJB Document 39-6 Filed 11/09/22 Page 20 of 20 PageID #: 213




           1                                   Johnson                       50

           2                 Q.      If there's no signage then they

           3           wouldn't be advised of a construction zone,

           4           would they?

           5                 A.      Unless you are listening to Waze

           6           or Google Maps or something.
           7                 Q.      If a road had no signage of a

           8           construction zone, would you be allowed to

           9           pull over a motorist going over the limit

          10           in a construction zone?

          11                 A.      I have no idea what you are

          12           talking about.         I think you are confused.
          13                 Q.      If a motorist is driving on the
          14           440 and the 440 says construction zone,

          15           does a different speed limit apply at that

          16           point in time for the regular speed limit?

          17                 A.      Yes.

          18                 Q.      What is the regular speed limit

          19           on the 440?

          20                 A.      45.

          21                 Q.      And if there's signs of a

          22           construction zone, what is the speed limit?

          23                 A.      It varies on the construction

          24           zone.      That one was 25.

          25                 Q.      When you say "that one," can you



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